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Fill in this information to identify the case:
Debtor name Metro Service Group, Inc.
United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                             Check if this is an
                                               LOUISIANA
Case number (if known):         22-11197                                                                                                    amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
ACB Management                                      Trade Vendor                                                                                                $43,352.92
Group LLC
8930 Dixon Street
New Orleans, LA
70118
American Express                                    Trade Debt                                                                                                $129,942.33
PO Box 981535
El Paso, TX
79998-1555
B3NOLA Consulting                                                                                                                                             $140,000.00
                          blair@b3nola.com
BTR (Big Truck                                      Trade Vendor                                                                                              $150,000.00
Rental)                   mark@bigtruckrental
5001 W Lemon Street       .com
Tampa, FL 33609
Certified Laboratories                              Fluids/Oils                                                                                               $115,919.26
PO Box 9721269            Jeff.Hymel@certified
Dallas, TX                labs.com
75397-1269
Clean Energy Fuels                                  Trade Vendor/Fuels                                                                                          $55,540.70
4675 McArthur Court       Reagan.Noll@clean
Ste 800                   energyfuels.com
Newport Beach, CA         949-437-1000
92660
Coleman's Wrecker         Albert Coleman            Wrecker Service                                                                                             $50,000.00
Service
P.O. Box 26484
New Orleans, LA           504-241-9422
70126
DPSC Public Safety                                  Fines                                                                                                     $125,779.40
Office of State Police
P.O. Box 61047
New Orleans, LA
70161




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Debtor     Metro Service Group, Inc.                                                                Case number (if known)         22-11197
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
G & H Manufacturing                                 Trade Vendor                                                                                              $194,775.06
1015 Commercial           acctsrec@ghmfg.co
Blvd. S.                  m
Arlington, TX 76001
LWCC                                                Insurance                                                                                                 $104,244.83
2237 S. Acadian
Thruway
Baton Rouge, LA
70808
PeopleReady Inc.                                    Temp Labor                                                                                                $945,000.00
1015 "A" Street           ecarrera@peoplerea
Tacoma, WA 98402          dy.com
                          1-253-383-9101
RDK Truck Sales                                     Trade Vendor                                                                                                $64,512.00
3214 Adamo Drive          gaspar@rdk.com
Tampa, FL 33605
River Birch Inc.                               Landfill                                                                                                       $350,000.00
2000 South Kenner         dominick@riverbirchl
Road                      lc.com
Westwego, LA 70094        504-364-1140
Spahr Enterprises Inc     David Soahr          Fluids/Oil                                                                                                       $68,391.37
David Spahr
2309 Washington Ave       spahr1@cox.net
Harvey, LA 70058          504-722-5799
Trucks & Parts of                                   Truck Rental                                                                                                $64,358.00
Pennsylvania, LLC         bruce@trucks.com
1620 Horseshoe Pike       800-488-8889
Glenmoore, PA
19343
Trucks & Parts of                                   Truck Rental                                                                                                $72,790.20
Tampa, Inc.               bruce@trucks.com
1015 South 50th           813-247-6637
Street
Tampa, FL 33619
Waste Pro                                           Waste Removal                                                                                             $190,000.00
1774 N. Flannery
Road
Baton Rouge, LA
70815




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